Case 1:04-cv-00397-GBD-RLE Document 907-35 Filed 05/13/15

Date: 9 Elul 5764 File No.: 3465/02
August 26, 2004

Military Court, Judea

Before the Honorable President of the Court: Lieutenant-Colonel Shlomi Kochav
Judge: Captain Shlomo Katz
Judge: Captain Menachem Lieberman

The Military Prosecution
=-V =

The Defendant: Munzar Mahmoud Khalil Noor Identity No. 902442607/ Prisons Service —
Present
(Represented by Counsel, Adv. Gozlan)

Recorder: Corporal Natalia Michaelov Berezovsky
Interpreter: Staff Sergeant Fares Falah

The President of the Court opened the hearing and identified the Defendant.
Verdict

On June 25, 2002, an indictment was filed against the Defendant, attributing to him six offenses
against the security of the Area, as follows:

1. Kidnapping in aggravated circumstances, an offense pursuant to Sections 67a (a) and (d) of
the Security Provisions Order, in that in 1993, he, together with others, kidnapped a person
named Hashem Abu Zakir, whom he handed over to masked individuals so that the latter
could interrogate him on suspicion of collaboration with Israel.

2. Intentionally causing death, an offense pursuant to Section 51 of the Security Provisions
Order and Section 14 (a) (4) of the Rules of Liability for an Offense Order, in respect of his
involvement in the suicide terrorist attack that took place on January 27, 2002, in
Jerusalem, as a result of which the late Pinhas Emanuel Tokatli was killed. It was attributed
to the Defendant that he took an active part in the terrorist attack in that he convinced the
female terrorist, Wafa

[Stamp] P 3: 40
Case 1:04-cv-00397-GBD-RLE Document 907-35 Filed 05/13/15 Page 2 of 14

Idris, to carry out the terrorist attack. The Defendant went further, and when he became
aware that the suicide bomber had changed her mind about committing suicide, he sat with
her again and persuaded her that she should carry out her intentions and execute the
terrorist attack, even if it was not to be through a suicide terrorist attack, but by planting a
bomb, Ultimately, as stated, the terrorist attack was carried out, and Pinhas Emanuel
Tokatli was murdered.

3. Attempting to intentionally cause death, an offense pursuant to Section 51 of the Security
Provisions Order and Sections 14 (a) (4) and 19 of the Rules of Liability for an Offense
Order, in that in the terrorist attack in which the late Pinhas Emanuel Tokatli was killed,
other people (over 150) were wounded, it having been intended to kill them.

4. Malicious damage to property, an offense pursuant to Sections 53c (a) and 92 of the
Security Provisions Order and Section 14 (a) (4) of the Rules of Liability for an Offense
Order, in that in the above mentioned terrorist attack, severe damage was caused to shops,
buildings and vehicles that were in the vicinity.

5. Attempting to incite another to trade in war materiel, an offense pursuant to Section 2 of
the Prohibition on Trading in War Materiel Order and Section 21 of the Rules of Liability
for an Offense Order, in that he approached a senior operative of the Palestinian
Authority’s Military Intelligence, and attempted to persuade him to transport explosive
devices by means of Red Crescent ambulances.

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[Stamp] P 3: 40 [continued]
Case 1:04-cv-00397-GBD-RLE Document 907-35 Filed 05/13/15 Page 3 of 14

Date: 9 Elul 5764 File No.: 3465/02
August 26, 2004

6. Communicating information of military value, an offense pursuant to Section 63 of the
Security Provisions Order, in that he gave that same senior member of the Palestinian
Authority’s Military Intelligence information on Israel Defense Forces checkpoints and the
movements of Israel Defense Forces units in the Area.

Evidentiary Materials in the Court File

During the course of hearings in the Court, a great deal of evidentiary material was submitted by
consent. On April 2, 2003, two statements given by the Defendant in his police interrogations,
one that he gave on April 23, 2002, and marked P/1, and one dated April 25, 2002, marked P/2.
At the next hearing, on May 5, 2003, his police statement dated May 13, 2002, and marked P/3
was submitted. These three statements constitute the principal evidence relating to the Defendant
in the file, and so will merit the bulk of discussion in this verdict, with a further 100 or more
exhibits having been submitted over the course of the hearings, all relating to the terrorist attack
on January 27, 2002, but which do not independently or directly involve the Defendant in the
crimes attributed to him.

When we survey the Defendant’s statements, which were, as mentioned, submitted by consent,
and hence the Court may accept their content as the truth, we will find the accusations attributed
to the Defendant in the indictment to be well founded.

At the same time, before we detail the supporting elements found in the Defendant’s statements,
and weave them together with the extrinsic evidence supporting the facts of the indictment, it is
worth noting that the Defendant’s admissions in this case gradually come to confirm the
accusations; that is, as his interrogation continued, his statements became more complete and
detailed. This may be seen to be a natural development of the interrogation, with the subject
initially not being willing to admit to all of the suspicions, but as the interrogation develops he
reveals many more elements of the truth. Hence we found it appropriate to reject the Defense
Counsel’s request, in his summation, to specifically adopt the first statement and not the later
ones.

[Stamp] P 3: 41
Case 1:04-cv-00397-GBD-RLE Document 907-35 Filed 05/13/15 Page 4 of 14

In his first statement, the Defendant still distanced himself from the actions of Wafa Idris, but
when we read his second and third statements, it can clearly be seen that his relationship with the
terrorist attack described in counts 2-4 of the indictment is much closer than he initially admitted
to.

Counts of the Indictment

Following this preface, we move on to the indictment itself, each count and its evidence. First, let
us examine the Defendant’s statements, and for each count we will refer to its supporting
documentation, and subsequently we will consider the required corroboration.

First Count: P/3 page 1 line 13 to page 2 line 6.

Second Count: P/2 page 2 line 4 to page 4 line 2. P/3 page 2 line 23 to page 3 line 28.
Third Count: as above.

Fourth Count: as above.

Fifth Count: P/3 page 5 line 19 to line 21

Sixth Count: P/3 page 5 line 21 to line 24

In these statements the Defendant admits that he sat together with the individual known as Hi
WE and the terrorist Wafa Idris when they planned to execute a terrorist attack in Jerusalem.
The Defendant also admits that he was given the task of persuading the terrorist to carry out the
terrorist attack, and when [she] expressed a certain hesitation and changed her mind about
carrying out the attack, he sat with her with the intention of persuading her nonetheless to carry
out a terrorist attack. Ultimately, she consented and indeed, on January 27, 2002, the terrorist
attack was carried out.

[Stamp] P 3: 41 [continued]
Case 1:04-cv-00397-GBD-RLE Document 907-35 Filed 05/13/15 Page 5 of 14

Date: 9 Elul 5764 File No.: 3465/02
August 26, 2004

Support for the other counts of the indictment can clearly be adduced from reading the
Defendant’s last statement, in which he details the crimes that he committed, whether in the
distant past, or recently.

Thus, the Defendant strongly tied himself to all the counts of the indictment, as they appear in
the indictment. If it were possible to pass a verdict solely on the basis of these statements, he
could already be convicted, at this stage, of all the counts of the indictment.

Corroboration

Notwithstanding the above, our system of justice requires independent evidence for the
Defendant’s admission given as an external statement before the Court can convict a person
under the law, something called, in judicial language, “something more.” In the case before us,
there is a great deal of “something more,” at least in connection with the counts relating to the
terrorist attack. We will refer only to some of them, P/85, P/87 and P/102, the action report by
police officer Dror Avraham, the expert opinion by police officer JM of the police bomb
laboratory, and the expert opinion of I respectively. This evidence provides, in
itself, all that is necessary in terms of extrinsic evidence to the fact of the terrorist attack having
occurred, and to the fact that the terrorist attack caused the death of a person. The rest of the
evidence submitted by consent is sufficient to prove all the facts of counts 2, 3 and 4 of the
indictment, including the injuries to persons, and damage to property, and so he is to be
convicted of these crimes.

However, this corroboration does not attest directly as to the rest of the counts of the indictment
of which the Defendant stands accused, that is, the first, fifth and sixth counts of the indictment.

The law regarding this “something more” has undergone transformations and changes, but it may
be defined in principle as was done by Justice Yaakov Kedmi in his text, On Evidence (Volume
1, page 102)

The requirement for ‘something more’ does not express a
requirement for additional evidence that indicates, in itself, the
guilt of the defendant; rather, it is principally a requirement
for corroboration that allows one to test the veracity of the
admission.

[Stamp] P 3: 42
Case 1:04-cv-00397-GBD-RLE Document 907-35 Filed 05/13/15 Page 6 of 14

This being the test, then as stated above, the very proof of the terrorist attack having occurred
and the terrible outcomes that were caused by it constitute the something more for the counts
connected with the terrorist attack. In addition, the very proof of the terrorist attack having
occurred confirms all that stated in the Defendant’s statements in relation to his relationship with
the said aa the individual who set the terrorist attack in motion. If, as has been said, we
are verifying that relationship, then the “something more” has the power to verify that stated in
the fifth and sixth counts of the indictment, in which the Defendant also connected himself with
Abu Talal in carrying out additional crimes. In light of what has been said, the Defendant should
also be convicted of the fifth and sixth counts of the indictment.

In regard to the first count of the indictment; as we have said, this count relates to a crime which
ostensibly was committed almost a decade prior to the Defendant’s arrest, and which has no
relationship to the other offenses appearing in the indictment. Can verification of part of the
Defendant’s statement stretch over the whole of his statement, or can this verification float over
all parts of the statement, and whenever something more is required to verify matters, it can
appear and convict?

The opinion of Justice Kedmi in his previously mentioned book (page 122) is no:

Where the matter pertains to a series of crimes connected with
one another to the point that they constitute a ‘single
narrative,’ it is sufficient to have ‘something more’ for one of
the crimes.

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[Stamp] P 3: 42 [continued]
Case 1:04-cv-00397-GBD-RLE Document 907-35 Filed 05/13/15 Page 7 of 14

Date: 9 Elul 5764 File No.: 3465/02
August 26, 2004

There is no doubt that the first count of the indictment constitutes an offense which is not
connected to the other offenses, is not part of a “single narrative” and is not part of a series of
offenses, and so the evidentiary material in the file does not provide sufficient corroboration to
convict the Defendant of it. In light of this, the Defendant is acquitted of this offense.

In summary, the Defendant is acquitted of the first count of the indictment, and convicted of the
second, third, fourth, fifth, and sixth counts of the indictment.

Given and announced this day, August 26, 2004, in public.

[Signature] [Signature] [Signature]
Judge President of the Court Judge
-4.

[Stamp] P 3: 43
Case 1:04-cv-00397-GBD-RLE Document 907-35 Filed 05/13/15 Page 8 of 14

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

MARK I. SOKOLOW, et ai.,

Plaintiffs,
No. 04 Civ. 00397 (GBD) (RLE)

VS,

THE PALESTINE LIBERATION
ORGANIZATION, e7 ai.,

Defendants.

DECLARATION OF RINA NE’EMAN

Rina Ne’eman hereby certifies as follows:

Le The attached translation from Hebrew to English is an accurate representation of the
document received by Rina Ne’eman Hebrew Language Services, to the best of my
knowledge and belief. The document is designated as P3: 40-43.

2 I am a professional translator with a B.A. in International Relations from the Hebrew
-University of Jerusalem (Israel) and 30 years of translation experience. I am fluent in
Hebrew and English, and I am qualified to translate accurately from Hebrew to English,

3 To the best of my knowledge and belief, the accompanying text is a true, full and
accurate translation of the Hebrew-language document bearing the bates number, P3: 40-

43.

Rina Ne’éfidn
Case 1:04-cv-00397-GBD-RLE Document 907-35 Filed 05/13/15 Page 9 of 14

ss.: New Jersey

On the (BY day of February, 2014 before me, the undersigned, personally appeared Rina
Ne’eman, personally known to me or proved to me on the basis of satisfactory evidence to be the
individual whose name is signed to this Declaration and acknowledged to me that he executed
the same in his capacity, and that by his signature on this Declaration, the individual executed the
Declaration.

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asl day of February, 2014

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Case 1:04-cv-00397-GBD-RLE Document 907-35 Filed 05/13/15 Page 10 of 14
Case 1:04-cv-00397-GBD-RLE Document 907-35 Filed 05/13/15 Page 11 of 14

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Case 1:04-cv-00397-GBD-RLE Document 907-35 Filed 05/13/15 Page 13 of 14

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Case 1:04-cv-00397-GBD-RLE Document 907-35 Filed 05/13/15 Page 14 of 14

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